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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 22-CV-14102-MIDDLEBROOKS

   DONALD J. TRUMP,

         Plaintiff,

   V.

   HILLARY R. CLINTON, et al. ,

            Defendants.
   - - - - - - - -- - - - - - - - - -I
                                   ORD ER SUBSTITUTING PARTIES

            THIS CAUSE comes before the Court on the United States' Motion to Substitute and

   Dismiss, filed on July 14, 2022. (DE 224). For the reasons explained below, the Motion is granted

   insofar as the United States is substituted as defendant for James Corney, Andrew McCabe, Peter

   Strzok, Lisa Page, and Kevin Clinesmith. I will defer ruling on the United States' dismissal

   arguments until a later time.

            In his sprawling Amended Complaint, Plaintiff brings tort claims against five former

   Federal Bureau of Investigation ("FBI") employees: James Corney, Andrew McCabe, Peter

   Strzok, Lisa Page, and Kevin Clinesmith. The allegations relate to these Defendants' purported

   involvement in an "investigation of the Plaintiff and his alleged collusion with Russia." (Am.

   Compl.   ,r 668).   In the present Motion, the United States argues that it should be substituted for

   these Defendants under the Federal Employees Liability Reform and Tort Compensation Act of

   1988, commonly known as the Westfall Act.

            The Westfall Act "accords federal employees absolute immunity from common-law tort

   claims arising out of acts they undertake in the course of their official duties." Osborn v. Haley,

   549 U. S. 225, 229 (2007). The Westfall Act empowers the Attorney General (or his delegate) to
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   certify that the employee "was acting within the scope of his office or employment at the time of

   the incident out of which the claim arose." 28 U.S.C. § 2679(d)(l). "Upon such certification, the

   United States is substituted as defendant in place of the employee, and the action is thereafter

   governed by the Federal Tort Claims Act." Osborn, 549 U.S. at 225.

          Upon certification, "the employee[s] (are] dismissed from the action and the United States

   is substituted in (their] stead." Omnipol, A.S. v. Multinational Def Servs., LLC, 32 F.4th 1298,

   1305 (11th Cir. 2022). The United States remains the defendant "unless and until the district court

   determines that the federal officer originally named as defendant was acting outside the scope of

   his employment." Osborn, 549 U.S. at 252; see also Matsushita Elec. Co. v. Zeigler, 158 F.3d

   1167, 1169 (11th Cir. 1998) ("[U]nder § 2679( d)( 1), the district court was required to substitute

   the United States as a defendant for Zeigler once the United States Attorney had certified that

   Zeigler' s actions occurred within the scope of his employment.").

          James G. Touhey, Jr., Director of the Torts Branch, Civil Division, United States

   Department of Justice, a delegate of the Attorney General, has certified that Defendants James

   Corney, Andrew McCabe, Peter Strzok, Lisa Page, and Kevin Clinesmith "were acting within the

   scope of their employment with the Federal Bureau of Investigation at the time of the alleged

   conduct at issue." (DE 224-1). The United States is therefore due to be substituted as defendant in

   their stead under the Westfall Act. See S.J & W Ranch, Inc. v. Lehtinen, 913 F.2d 1538, 1543

   (11th Cir. 1990) ("Although, as discussed above, this scope certification is not dispositive for

   purposes of substitution, it indicates that the United States is substituted as an automatic

   consequence of the Attorney General's certification.") (emphasis added).

          Of course, Plaintiff is entitled to "litigate the question of whether the employee[s] were

   acting within the scope of (their] employment when the challenged conduct occurred." See id. If

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   he so chooses, he "has the burden of altering the status quo by proving that the employee acted

   outside the scope of employment," and the certification constitutes prima facie evidence that the

   employees were acting within the scope of their employment. See id. ; see also Omnipol, 32 F.4th

   at 1305.

          Accordingly, it is ORDERED AND AD.TTJDGED that:

          (1) The United States' Motion to Substitute and Dismiss (DE 224) is GRANTED IN

              PART and I will DEFER RULING IN PART. It is granted with respect to the United

              States' substitution argument, and I will defer ruling on the United States' dismissal

              argument.

          (2) The United States is SUBSTITUTED as defendant for James Corney, Andrew

              McCabe, Peter Strzok, Lisa Page, and Kevin Clinesmith.

          (3) Defendants James Corney, Andrew McCabe, Peter Strzok, Lisa Page, and Kevin

              Clinesmith are DISMISSED from this action

          SIGNED in Chambers at West Palm Beach, Florida, this      £_/ d




                                                              United States District Judge

   cc:    Counsel of Record




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